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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA
                                                           CRIMINAL NO.: 18-CR-338 (TJK)

                 v.

JEFFREY CLARK,

                                Defendant.


                                               ORDER

       Based on the representations set forth in the Joint Motion to Continue Status Hearing and

for Exclusion of Time Under the Speedy Trial Act, and a review of the entire record in this case,

the Court hereby makes the following findings:

       1.        Given the complex nature of this case, in particular the large amount of

electronically stored information that the government has reportedly seized in this case, the Court

finds that the case is so unusual and complex that it is unreasonable to expect adequate preparation

for pretrial proceedings or for the trial itself within the time limits established by the Speedy Trial

Act, 18 U.S.C. § 3161, and;

       2.        Given that the parties are exploring a disposition of this matter, which would be in

the interest of both the public and the defendant;

        3.      The Court finds the ends of justice are served by granting the joint request for a

continuance, and for the time to be excluded from the computation within which to commence

trial for the defendant under the Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (h)(7)(B)(ii), and

that the ends of justice outweigh the best interest of the public and the defendant in a speedier trial.
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       Therefore, it is hereby

       ORDERED, that the motion is hereby GRANTED, the status hearing currently scheduled

for April 11, 2019, is continued to M it 'I   3      , 2019, at / (): t't)     ,   and it is further;
                                         I                           C,,.,.,
       ORDERED, that in accordance with 18 U.S.C. § 316l(h)(7)(A), that the time between

April 11, 2019, and M 'f \/
                         I
                                 J   , 2019, shall be excluded from the computation of time within
which to commence trial for the defendant under the Speedy Trial Act.




       DATE
